Case 1:05-cr-00039-MW-GRJ         Document 425      Filed 03/12/08    Page 1 of 2




                                                                           Page 1 of 2


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                             CASE NO.: 1:05cr39-SPM/AK

GERALD JEROME RAYMOND,

           Defendant.
____________________________/

           ORDER DENYING MOTION FOR TRO AND INJUNCTION

      This cause comes before the Court on Defendant Gerald Jerome

Raymond’s “Motion for Temporary Restraining Order and Injunction to Show

Cause Order.” Doc. 423. Defendant complains that he is being made to pay a

portion of his UNICOR wages toward his restitution obligation as a condition of

his participation in the Inmate Financial Responsibility Program. He contends

that the payments constitute an unlawful delegation of the Court’s responsibility

to establish a restitution payment plan. This argument is without merit.

      As Defendant acknowledges, his judgment requires immediate payment of

restitution. Although this means Defendant must make good faith payments

while incarcerated, the Court did not delegate to the Bureau of Prisons the

responsibility to establish a restitution payment plan. McGhee v. Clark, 166 F.3d

884, 886 (7th Cir. 1999). Furthermore, Defendant’s participation in the Inmate
Case 1:05-cr-00039-MW-GRJ         Document 425       Filed 03/12/08   Page 2 of 2




                                                                           Page 2 of 2


Financial Responsibility Program is voluntary, and the payment responsibilities

that come with participation are reasonably related to legitimate penological

objectives. Williams v. Pearson, 197 Fed. Appx. 872, 876-77, 2006 WL

2769377, at *3-4 (11th Cir. Sept. 26, 2006). Accordingly, it is

        ORDERED AND ADJUDGED that the Motion for Temporary Restraining

Order and Injunction to Show Cause Order, Doc. 423, is denied.

        DONE AND ORDERED this 12th day of March, 2008.


                                     s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge




CASE NO.: 1:05cr39-SPM/AK
